     Case 8:25-cv-00026-SSS-PD             Document 1-6            Filed 01/07/25               Page 1 of 4 Page ID
                                                  #:81



                         ORANGE COUNTY BOARD OF SUPERVISORS
                                             MINUTE ORDER
                                               March 26, 2024


Submilling Agencv(Department: County Counsel
 Pursuant to Government Code Section 7283.1 conduct public hearing regarding Tran sparent Review of Unjust Transfers
 and Holds (T RUTH) Act; and receive and file information from County law enforcement departm ents regarding
 Immigration and Custom s Enforcement's access to individuals in 2023 - A ll Districts

The following is action taken by the Board of Supervisors:
A PPROV ED A S RECOM M EN DED O              OTH ER 181

 RECEIVED AND FILED

Unanimous O (I ) DO:     (2) SA RMI ENTO: (3) WAGNER: (4) CHA FFEE: (5) FOLEY:
 Vote Key: Y= Yes; N=No; A =Abstain; X =Excused; B.O. =Board Order

Documents accompanying this matter:

  0 Resolution(s)
  0 Ordinances(s)
  D Contract(s)
Item No. 38

Special Notes:

Copies sent to:

        County Counsel

        4/ 1/24




                                                      I certify that the foregoing is a true and correct copy o f the Minute Order adopted
                                                      by the Board of Supe rvisors , Orange County , State o f California.
                                                      Robin Stieler, Clerk of the Board
                                                                         OocuSlgncd by:


                                                      By:_ __ _alt.
                                                                _ s_So..lA,_b_o.,_ f;-'---t'"_·v.J,
                                                                                               __
                                                           Dep  0341202eEoBE475 ...




                                                                                                                        EXHIBIT F
     Case 8:25-cv-00026-SSS-PD        Document 1-6        Filed 01/07/25      Page 2 of 4 Page ID
                                             #:82
                                                                            Agenda Item
                                  AGENDA STAFF REPORT

                                                                            ASR Control 24-000182

MEETING DATE:                                 03/26/24
LEGAL ENTITY TAKING ACTION:                   Board of Supervisors
BOARD OF SUPERVISORS DISTRICT(S):             All Districts
SUBMITTING AGENCY/DEPARTMENT:                 County Counsel (Approved)
DEPARTMENT CONTACT PERSON(S):                 Leon J. Page (714) 834-3300
                                              Nicole A. Sims (714) 834-3300

SUBJECT: Transparent Review of Unjust Transfers and Holds (TRUTH) Act Community Forum
CEO CONCUR                           COUNTY COUNSEL REVIEW                            CLERK OF THE BOARD
    Concur                              No Legal Objection                                    Public Hearing
                                                                                      3 Votes Board Majority

Budgeted: N/A                      Current Year Cost: N/A                    Annual Cost: N/A

Staffing Impact: No                        # of Positions:            Sole Source: N/A
Current Fiscal Year Revenue: N/A
Funding Source: N/A                               County Audit in last 3 years: No
Levine Act Review Completed: N/A
Prior Board Action:     3/14/2023 #S38C, 3/22/2022 #S46A, 2/23/2021 #S15C
RECOMMENDED ACTION(S):


1.      Pursuant to Government Code section 7283.1, conduct public hearing regarding access to
        individuals that has been provided to Immigration and Customs Enforcement by County law
        enforcement departments during 2023.

2.      Receive and file information from County law enforcement departments regarding Immigration
        and Customs Enforcement’s access to individuals in 2023.




SUMMARY:
California’s Transparent Review of Unjust Transfers and Holds (TRUTH) Act (Government Code
sections 7283 and 7283.1) requires that a Community Forum be held each year, to provide the public with
information about what access to individuals had been provided to Immigration and Customs
Enforcement by County law enforcement departments during the preceding year.




                                                Page 1


                                                                                              EXHIBIT F
      Case 8:25-cv-00026-SSS-PD         Document 1-6        Filed 01/07/25    Page 3 of 4 Page ID
                                               #:83

BACKGROUND INFORMATION:
In accord with Government Code sections 7283, subdivision (a) and 7283.1, subdivision (d), the Board
has held a public hearing at its meetings on February 23, 2021, March 22, 2022, and March 14, 2023, to
provide the public with information about what access to individuals had been provided to Immigration
and Customs Enforcement (ICE) by County law enforcement departments during the preceding year.

Government Code section 7283, subdivision (d), defines “ICE access” as follows:

“ICE access” means, for the purposes of civil immigration enforcement, including when an individual is
stopped with or without their consent, arrested, detained, or otherwise under the control of the local law
enforcement agency, all of the following:

(1)     Responding to an ICE hold, notification, or transfer request.

(2)     Providing notification to ICE in advance of the public that an individual is being or will be
        released at a certain date and time through data sharing or otherwise.

(3)     Providing ICE non-publicly available information regarding release dates, home addresses, or
        work addresses, whether through computer databases, jail logs, or otherwise.

(4)     Allowing ICE to interview an individual.

(5)     Providing ICE information regarding dates and times of probation or parole check-ins.

Sheriff’s Department (OCSD)

Following the enactment of state laws limiting law enforcement agencies’ cooperation with ICE except as
provided, OCSD implemented a jail policy and created forms to meet the laws’ requirements. OCSD’s
jail policy 1206 (Attachment B) prohibits any transfer of an inmate to ICE’s custody unless in accordance
with state law. As required by the TRUTH Act, OCSD uses forms by which OCSD requests an inmate’s
written consent to be interviewed by ICE (“TRUTH Act Interview Consent Form”) and also notifies an
inmate if the inmate qualifies to be transferred to ICE’s custody following the inmate’s release from
OCSD’s custody (“TRUTH Act Notification Form”) (Attachment C).

OCSD provided the following information for 2023 (also see Attachment D):

•        In calendar year 2023, a total of 547 inmates released from the Orange County Jail had ICE
         detainers, meaning ICE requested that OCSD notify them when the inmates were being released
         from local custody. The purpose of this notification is for ICE to meet their responsibility to
         take the released inmate into their custody. OCSD notified ICE about 302 of those 547 inmates
         upon the inmates’ completion of their time in local custody. Those inmates were all individuals
         whose criminal convictions met the state law’s requirement for transfer to ICE’s custody. Of the
         individuals eligible for notification, 221 were transferred to ICE’s custody. With respect to the
         other 81 individuals who, under state law, were eligible for transfer to ICE, ICE took no action
         and these individuals were released back into the community. A total of 40 of these individuals
         were re-arrested for new crimes in Orange County.



                                                   Page 2


                                                                                                EXHIBIT F
    Case 8:25-cv-00026-SSS-PD           Document 1-6       Filed 01/07/25     Page 4 of 4 Page ID
                                               #:84
•        State law prohibited OCSD from notifying ICE of the release of 245 inmates who had ICE
         detainers. Of the 245 inmates with ICE detainers who were released back into the community,
         27 were re-arrested for new crimes in Orange County.


Probation Department (Probation)

Probation does not permit ICE to have access to any juvenile in Probation’s custody or under Probation’s
supervision. This is in accord with Welfare and Institutions Code section 831, which prohibits disclosure
of juvenile information to federal officials absent a court order from the Juvenile Court.

Probation has briefed its officers about the legal requirements for ICE access to adults. Probation has not
had a situation where it has allowed ICE access to an adult in Probation’s custody or under Probation’s
supervision in 2023.



FINANCIAL IMPACT:
N/A

STAFFING IMPACT:
N/A

REVIEWING AGENCIES:
Orange County Sheriff's Department
Orange County Probation Department

ATTACHMENT(S):
Attachment A – Government Code sections 7283 and 7283.1; Welfare & Institutions Code section 831
Attachment B – OCSD’s Jail Policy Section 1206 (Immigration)
Attachment C – OCSD’s Inmate Interview Consent Form and Notification Form
Attachment D – Orange County Jail – Immigration Detainer Data – 2023




                                                  Page 3


                                                                                               EXHIBIT F
